                 Case 3:18-cv-01939-VAB Document 17 Filed 10/15/19 Page 1 of 2



                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT



  STRIKE 3 HOLDINGS, LLC,
                                                      Civil Action No. 3:18-cv-01939-VAB
                                Plaintiff,

            v.

  JOHN DOE subscriber assigned IP address
  69.122.234.192,

                                Defendant.


                        PLAINTIFF’S NOTICE OF SETTLEMENT AND
                   VOLUNTARY DISMISSAL WITH PREJUDICE OF JOHN DOE

       PLEASE TAKE NOTICE, Plaintiff Strike 3 Holdings, LLC (“Plaintiff”) has settled this

matter with John Doe, subscriber assigned IP address 69.122.234.192 (“Defendant”), through

Defendant’s counsel, Leonard French, Esq. Pursuant to the settlement agreement’s terms, Plaintiff

hereby voluntarily dismisses Defendant from this action with prejudice.   Pursuant to Fed.R.Civ.P.

41(a)(1)(A)(i) Defendant John Doe has neither answered Plaintiff’s Complaint nor filed a motion for

summary judgment.

       Consistent herewith Plaintiff consents to the Court having its case closed for administrative

purposes.

  Dated: October 15, 2019                            Respectfully submitted,

                                                      By: /s/ Jacqueline M. James______
                                                      Jacqueline M. James, Esq. (CT29991)
                                                      The James Law Firm, PLLC
                                                      445 Hamilton Avenue, Suite 1102
                                                      White Plains, New York 10601
                                                      T: 914-358-6423
                                                      F: 914-358-6424
                                                      E-mail: jjames@jacquelinejameslaw.com
                                                      Attorneys for Plaintiff
                                                     3
         Case 3:18-cv-01939-VAB Document 17 Filed 10/15/19 Page 2 of 2




                               CERTIFICATE OF SERVICE

       I hereby certify that on October 15, 2019, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF and that service was perfected on all counsel of

record and interested parties through this system



                                                    By: /s/ Jacqueline M. James______




                                                    3
